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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION


NETLIST, INC.,                     )
                                   )
            Plaintiff,             )
                                   )
                                       Case No. 2:22-cv-293-JRG
      vs.                          )
                                   )
                                       JURY TRIAL DEMANDED
SAMSUNG ELECTRONICS CO, LTD;       )
SAMSUNG ELECTRONICS AMERICA,       )
INC.; SAMSUNG SEMICONDUCTOR        )
INC.,                              )
                                   )
            Defendants.            )


            NETLIST’S OPPOSITION TO SAMSUNG’S MOTION FOR
                        CLARIFICATION (DKT. 739)
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        Samsung’s motion does not seek clarification. It is a motion to lobby the Court to allow it to

re-try the question of whether the JDLA was properly terminated, an issue it lost in the CDCA.

        Samsung successfully resisted trying the termination of the JDLA with the patent infringement

claims in this case. Netlist proposed that they be tried together, and that the trial occur in this Court.

Ex. 1 (Netlist’s CDCA Motion to Stay) at 3 (“the [Eastern District] Infringement Action is the only

case that can address the parties’ entire dispute, which includes whether: (1) Samsung and its U.S.

subsidiaries infringe Netlist patents; (2) Samsung’s accused products are protected by the JDLA’s

license; and (3) Netlist’s termination of the JDLA was proper, following Samsung’s breach of its

mandatory supply obligation.”). Samsung opposed, and asked Judge Scarsi to have a jury determine

the issue of Samsung’s breach of the JDLA before the East Texas case went to trial, never stating that

it would reserve the right to re-try the claim. Ex. 2 (Samsung’s CDCA Opposition to Motion to Stay)

at 11-12 (“the Eastern District of Texas is indisputably not a forum in which those issues can or will

be heard before they are heard in this case”). Judge Scarsi specially set the CDCA trial for an early trial

date just so this case could go to trial:

        And I think that my understanding of what Judge Gilstrap would appreciate -- as I
        would if I was in his position -- would be for us in this court to resolve the case and
        then this Court's done and then Judge Gilstrap can do whatever he feels is appropriate
        in his case.

        I don't know that -- I think that the fact that we do have the potential to squeeze
        this in before his trial is to the benefit of the court in Texas . I mean often we
        wouldn't have this flexibility but we appear to do now in our schedule.

        So again, having considered all the arguments -- and I do think that they're good
        arguments for a stay but I just think the posture of this with this case being proceeding
        first, I think we have an obligation, I think I have an obligation to resolve the matters
        before the Court.

Ex. 3 (CDCA 02/05/2024 Hearing Transcript) at 11:2-15. This is the exact outcome Samsung wanted.

At no point in time did Samsung advise this Court or Judge Scarsi that it reserved the right to re-try

the question of termination after it lost. Nor did Samsung tell this Court or Judge Scarsi that it would




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not accept the preclusive effect of the jury verdict. Id. at 11:20-22 (“[Samsung’s Counsel]: I don't know

that I have anything to add on the motion to stay. We agree with the Court, we understand the

ruling.”).

        Samsung lost the CDCA trial, wherein a unanimous jury found that Samsung’s breach of the

JDLA was material. In that case, Netlist bore the burden of proof that termination was proper (and

succeeded in doing so). If Samsung attempted to prevail on its license defense in the Eastern District

of Texas, it would have the burden of proof that Netlist’s termination was not proper. CXT Sys., Inc.

v. Acad., Ltd., 2020 WL 9936134, at *4 (E.D. Tex. Jan. 30, 2020) (“[T]he Court notes that JCP has the

ultimate burden of persuasion as to whether this license covers the accused products. A license defense

is an affirmative defense. Fed. R. Civ. P. 8(c)(1); McCoy v. Mitsuboshi Cutlery, Inc., 67 F.3d 917, 920 (Fed.

Cir. 1995) (‘A[n] [express] licensee, of course, has an affirmative defense to a claim of patent

infringement.”); Nexell Therapeutics, Inc. v. AmCell Corp., 199 F. Supp. 2d 197, 207 (D. Del. 2002) (citing

Fed. R. Civ. P. 8(c)) (discussing an express license and stating that ‘plaintiffs correctly point out that

since the license defense is an affirmative defense, . . . [the accused infringer] bears the burden o[f]

proof on this issue’)”).

        The Court has already rejected Samsung’s argument that the JDLA has not been terminated.

In denying Samsung’s motion to vacate the judgment of the -463 Action, the Court explained:

        The Court finds that the Final Judgment should not be vacated and the case should
        not be stayed. The JDLA is not currently “in full force and effect,” as Samsung
        contends. Since the filing of Samsung’s Motion to Stay, a jury returned a verdict in
        favor of Netlist in the California Action finding that Samsung breached the JDLA.
        Samsung did not prevail in the California Action as it speculated that it would in its
        Motion to Stay. Accordingly, all grounds upon which Samsung moved to vacate the
        verdict and stay the case are now moot.

Netlist, Inc. v. Samsung Elecs. Co., et al., 2:21-CV-00463-JRG, Dkt. 609-01 at 4 (“Samsung I”).

        Samsung grossly mischaracterizes the current state of proceedings in the Central District of

California. Samsung claims that “the CDCA Court is actively considering whether to set [the verdict]



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aside” due to alleged discovery misconduct. Samsung cites no statements or order from the California

court in making this argument. Samsung rather only cites to its own motion—which has no basis in

reality—and the entire five-year CDCA case docket.            Moreover, Samsung’s “Motion for an

Evidentiary Hearing and a Limited Discovery” does not even seek a new trial on this basis. Instead, it

improperly asks the California court to reopen discovery (well after discovery closed more than two

years ago), so that Samsung can conduct a fishing expedition into supposed discovery violations. As

Netlist explained in its Opposition to Samsung’s Motion for Limited Relief from the Protective Order

(Dkt. 733), Samsung’s motion to reopen discovery in California is wholly without merit. E.g., Dkt.

733 at 2 (“Samsung misrepresented to the CDCA Court that the document was within the scope of

the parties’ agreed scope of production in CDCA.”); id. at 4 (“Samsung CDCA Counsel Had Full

Access to the EDTX Production and Affirmatively Rejected A Proposal to Use It in the CDCA

Trial”).1 The California court has given no indication that it intends to entertain this motion.

        Undoubtedly, this is not Samsung’s last attempt to derail this trial. Should the Central District

enter judgment between now and September 9, Samsung will likely move to stay this case again on

the grounds that it is appealing the verdict to the Ninth Circuit. See Samsung I, Dkt. 74 (Samsung’s

Motion to Stay Pending IPR and Ninth Circuit Appeal) at 12 (“The Court should similarly use its

‘inherent power to control its own docket, including the power to stay proceedings before it’ to stay

the current proceeding until the Ninth Circuit resolves the overlapping issue of whether Samsung

remained licensed to the Asserted Patents.”). Should the Central District enter judgment after trial in

this case, Samsung will likely move to stay the judgment in this case on the same grounds. Samsung I,

Dkt. 597 at 15 (asking the court post-judgment to “stay this case pending resolution of the remanded

C.D. Cal. Case.”).


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        The Court recently rejected Samsung’s motion for relief from the protective order in this
case. Dkt. 745.



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        Netlist was more than willing to try the termination of the JDLA with the patent infringement

case. In a world in which a verdict in the CDCA did not exist this would be the appropriate step to

take. But a CDCA verdict does exist. The time for Samsung to tell this Court or Judge Scarsi that it

would not accept the CDCA verdict while post-trial briefs and appeals are outstanding in CDCA has

long passed. As discussed above, before Judge Scarsi, Netlist argued for a trial in EDTX. Samsung

argued for a trial in CDCA. Ex. 2 at 11-12. Samsung did not take this position in any briefing before

this Court or Judge Scarsi that it would seek a right to re-try the termination issue and hid this position

when the Court specially set the trial for September 9. Any case law Samsung cites in support of the

argument that a verdict alone is not preclusive is off point. The case law on point is the Fifth Circuit

case law on judicial estoppel. Judicial estoppel “prevents a party from asserting a position in a legal

proceeding that is contrary to a position previously taken in the same or some earlier

proceeding.” Gabarick v. Laurin Maritime (Am.) Inc., 753 F.3d 550, 553 (5th Cir. 2014). “One of the

doctrine’s purposes is to prevent litigants from playing fast and loose with the courts,” and to protect

“the integrity of the judicial process.” Id. (quoting Hall v. GE Plastic Pac. PTE Ltd., 327 F.3d 391, 396

(5th Cir.2003) and United States ex rel. American Bank v. C.I.T. Constr. Inc. of Texas, 944 F.2d 253, 258

(5th Cir.1991)). Two elements are necessary for judicial estoppel: (1) the estopped party’s position

must be “clearly inconsistent with its previous one,” and (2) “that party must have convinced the court

to accept that previous position.” Id. Both elements are met here. Samsung sought to have the

termination issue tried in CDCA—and to have it tried before any trial in this case—and Samsung

successfully convinced this Court and Judge Scarsi to do that and proceed with the CDCA trial

first. See Hall, 327 F.3d at 398 (“[A]cceptance of a party’s argument could be ‘either as a preliminary

matter or as part of a final disposition.’”). Samsung at no point stated in prevailing on these positions

that it would not accept the verdict in the CDCA until after post-trial motions and appeal. This

position, if disclosed to Judge Scarsi, would have led him to allow the trial in in East Texas (which was



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already scheduled) to proceed, in order to avoid two trials on the same issue. Samsung is now estopped

from rearguing the issues of termination and breach before this Court, and is estopped from arguing

that the CDCA verdict is not controlling because of outstanding post-trial briefing and appeals.



Dated: August 20, 2024                           Respectfully submitted,

                                                 /s/ Jason G. Sheasby

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                                 CERTIFICATE OF SERVICE



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          I hereby certify that, on August 20, 2024, a copy of the foregoing was served to all counsel of

record.

                                                         /s/ David Z. Kahn
                                                         David Z. Kahn




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